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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MARY C. TERRELL,                       )
                                       )
      Plaintiff,                       )
                                       )      Civil Action File No.
v.                                     )      1:21-CV-04613-MHC-CMS
                                       )
CITY OF FOREST PARK,                   )
GEORGIA, et al.,                       )
                                       )
      Defendants.                      )

                                     NOTICE

      In accordance with the Court’s order dated September 14, 2022, (Doc. 26),

the Plaintiff and Defendants hereby notify the Court that they completed their

scheduled mediation and reached a settlement of the claims in this action. The parties

are in the process of completing the settlement documents and will file a stipulation

of dismissal within the next 30 days upon completion of the settlement.

      This 19th day of September, 2022.


 /s/ David A. Cole                               /s/ Edward D. Buckley
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